Case: 1:15-Cv-10447 Document #: 31-1 Filed: 01/13/16 Page 1 of 50 Page|D #:250

IN 'I`HE UNITED STATES DISTRICT COURT
FOR 'I`HE NORTHERN DISTRICT ()F ILLINOIS

 

DOM(}NIQUE NATASHA BRIGGS and
SAMAR HASSAN, 011 behalf of themselves and
all others similarly situated,

Plaintiffs,
No. 15 Civ. 10447
~against-
Hon. Amy J. St. Eve
PNC FINANCIAL SERVICES GROUP, INC.
and PNC BANK, N.A.,

Defendants.

 

 

 

INI)EX OF EXHIBITS TO
PLAINTIFFS’ MOTION FOR PROTECTIVE ORDER
REGARDING THE DEPOSITIONS OF PLAINTIFFS

DOMONIQUE BRIGGS AND SAMAR HASSAN

Notice Of Videotaped Deposition ofPlaintiff Samar Hassan and Plaintiff Domonique Briggs ....A
Email from Susan Stern to Douglas M. Welman, dated January 11, 2016 .................................... B
Transcript of Proceedings for October 6, 2011 hearing in O’Toole v. Sears, Roebuck & Co. ......C

Transcript cf Proceedings for October 26, 2011 hearing in O ’Too[e v. Sears, Roebuck & Co. ..... D

Case: 1:15-Cv-10447 Document #: 31-1 Filed: 01/13/16 Page 2 of 50 Page|D #:251

EXHIBIT A

Case: 1:15-Cv-10447 Document #: 31-1 Filed: 01/13/16 Page 3 of 50 Page|D #:252

Moi'gcn Lewis

Kevin Fl Gaffney
Associate

+1.312.324.1138
kgaffney@morgan|ewis.com

January 6, 2016
VIA FACSIMILE AND FEDEX

Christopher McNerney

O|ivia Jardinado Quinto-Reyes
Justin Mitche!i Swartz

Pau¥ Wi||iam Mo|iica

Ou’cten & Golden, LLP

3 Park Avenue, 29th Floor
New York, NY 10016

Gregg L. Shavitz

Camar Ricardo Jones

Susan H. S’cern

Shavitz Law Group, P.A.
1515 South Federa| Highway
Suite 404

Boca Raton, FL 33432

Douglas IVE. Werman
Maureen Ann Sa|as
Werman Salas P.C.

77 West Washington
Suite 1402

Chicago, Iilinois 60602

Re: Domonique Nata$ha Bn‘gg$ and Sarmar Hassan l/. PNC Fl'nanc/Zzz/ SErvice-s Group,

Inc. and P/VC Bank

Court No: 15-cv-10447

Dear Counsei:

Enclosed piease find our Notices of Videotaped Depositions of Plaintiffs Domonique Natasha Briggs

and Samar Hassan.
Sincere!y,

KFG/aa
Enclosures

Morgan, Lewis 8c Bockius LLP

77 West Wacker Dr§ve
Chicago, lL 60601-5094 o +1.312.324.1000
United State.s 0 +1.312.324.1001

Case: 1:15-Cv-10447 Document #: 31-1 Filed: 01/13/16 Page 4 of 50 Page|D #:253

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DIS'I`RICT OF ILLINOIS

DOMONIQUE NATASHA BRIGGS and
SAMAR HAS SAN, on behalf 01 themselves
and a11 others Similarly situated,

Plaintiffs, '
v.

PNC FINANCIAL SERVICES GROUP, WC.,
and PNC BANK, N.A.,

Defendants.

 

Case No. 15 CV 10447

Honorable Amy J. St. EVe

NOTICE OF VIDEOTAPED DEPOSITION OF

PLAINTIFF SAMAR HASSAN

TO: Christopher McNerney
Olivia Jardinado Quinto-Reyes
Justin Mitchell Swartz
Paul Wil]iam MoHica
Outten & G01den, LLP
3 Park Avenue, 29th F100r
New York, NY 10016
(212) 245-1000

Attomeysfor Plainl.‘ijj%'

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Susan H. Stern

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Atfomeysfor Plaintiffs'

DB1/85649514.1

Douglas M. Werman
Maureen Ann Salas
Werman Salas P.C.

77 West Wash`mgton
Snite 1402

Chicago, Illinois 60602
(312) 419-1008

Attomeyfor Plainti]j%

Case: 1:15-cv-10447 Document #: 31-1 Filed: 01/13/16 Page 5 of 50 Page|D #:254

PLEASE TAKE NOTICE that Defendants PNC Financial Services Group, Inc. and PNC
Bank, N.A. Wiil take the deposition of piaintiff Sarnar Hassan on Wednesday, January 27, 2016
at 9:30 a.m., upon oral examination and pursuant to the Federa1 Rules of Civil Procedure, before
a Notary Public or before any other officer duly authorized to administer oaths, at the law office
of Morgan, LeWis & Bocl<;ins LLP, 77 West Wacker Drive, Chicago, Hlinois 60601. The
deposition Wiil be recorded by stenographic and Video recorded means and continue day-to-day

thereafter until completion

Dated: January 6, 2016 Respectfully submitted,

PNC FINANCIAL SERVICES G‘ROUP, INC.
and PNC BANK, N.A.

By: /S/Kevin F. Gajj‘ney
One of Their Attorneys

 

DBl/' 85649514.1 " 2 "

Case: 1:15-cv-10447 Document #: 31-1 Filed: 01/13/16 Page 6 of 50 Page|D #:255

DB1/85649514.1

Sari M. Alarnuddin

Kevin F. Gaffney

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Fifth Floor

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Tei. 312.324.1000

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Sarah E. Bouchard (pro hac vice)
Lauren E. Marzullo (pro hac vice)
MORGAN, LEWIS & BOCKIUS LLP
1701 Market Street

Philadelphia, PA 19103

Te1. 215.963.5000

Fax. 215.963.5001
Sbouchard@,morganlewis.corn
lmarzuilo@rnorganiewis.com

Attomeys for Defendants

Case: 1:15-cv-10447 Document #: 31-1 Filed: 01/13/16 Page 7 of 50 Page|D #:256

CERTIFICATE OF SERVICE

1, Kevin Gafiiaey, an attorney, certify that 1 served a copy of the foregoing NOTICE OF
VIDEOTAPED DEPOSITION OF SAMAR HASSAN on the following counse1 of record via e-

mai1 and Federal Express on January 6, 2016:

Christopher McNerney (crncnernev@outtengolden.com)

Oiivia Jardinado Quinto-Reyes (ojg@outtengolden.com)
Justin Mitchell Swartz {]`rns@outtengolden.com)

Paui Wil1iarn Mollica (pwmollica@outtenao1den.corn}

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NeW York, NY 10016
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Douglas M. Werman (dwennan@tlsalaw.corul
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Camar Ricardo 1 ones t c]'ones@shavitzlaw.com}
Susan H. Stem (Sstern@shavitzlaw.com)

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/S/Kevin F. Ga e

DBI/‘ 85649514.1

Case: 1:15-cv-10447 Document #: 31-1 Filed: 01/13/16 Page 8 of 50 Page|D #:257

IN THE UNITED STATES I)ISTRICT COURT
FOR THE NORTHERN DIS'I`RICT OF ILLINOIS

DOMONIQUE NATASHA BRIGGS and
SAMAR HAS SAN, on behalf of themselves
and all others similarly situated,

`Pianafa,
V.

PNC FINANCIAL SERVICES GROUP, INC.,
and PNC BANK, N.A., '

Defendants.

 

Case No. 15 CV 10447

Honorable Arny J. St. _Eve

NO'I`ICE OF VIDEOTAPED DEPOSITION OF

PLA]NTIFF DOMONIOUE NATASHA BRIGGS

TO: Christopher McNerney

Olivia Jardinado Quinto~Reyes
Justin Mitohell SWartZ

Paul William Mollica

Outten & Golden, LLP

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Attorneysfor Plaint::]j‘."s

Gregg L. Shavitz

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Attorneysfor Plainti)j‘s

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Maureen Ann Sa1213
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Attorneyfor Plainti]j€s'

 

DB1f85649201.1

Case: 1:15-cv-10447 Document #: 31-1 Filed: 01/13/16 Page 9 of 50 Page|D #:258

PLE,ASE TAKE NOTICE that Defendants PNC Financial Services Group, lnc. and PNC
Bank, N.A. Will take the deposition of plaintiff Dornonique Natasha Briggs on Monday, January
25, 2016 at 9:30 a.m., upon oral examination and pursuant to the Federal Rules of Civil
Procedure, before a Notary Pubiic or before any other officer du1y authorized to administer
oaths, at the law office of Morgan, Lewis & Bockius LLP, 77 West Wacker Drive, Chicago,
lllinois 60601. The deposition Will be recorded by stenographic and video recorded means and

continue day-to-day thereafter until completion

Dated: January 6, 2016 Respectiillly submitted,

PNC FINANCIAL SERVICES GROUP, INC.
and PNC BANK, N.A.

By: /s/Kevin F. Ga)j%ey
One of Their Attorneys

 

DBi/sss49201.1 - 2 -

Case: 1:15-cv-10447 Document #: 31-1 Filed: 01/13/16 Page 10 of 50 Page|D #:259

DBI/ 85649201.1

Sari l\/l. Alamuddin

Kevin F. Gafthey

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Attorneysfor Defendants

Case: 1:15-cv-10447 Document #: 31-1 Filed: 01/13/16 Page 11 of 50 Page|D #:260

CERTIFICATE OF SERVICE

I, Kevin Gaffney, an attorney, certify that 1 served a copy of the foregoing NOTICE OF
VlDEOTAPED DEPOSITION OF DOMONIQUE NATASHA BRIGGS on the following

counsel of record via e-mail and Federal EXpress on Ja;nuary 6, 2016:

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Olivia Jardinado Quinto~Reyes (ojg@outtengolden.com)
Justin Mitchell~ SWartz (jnis@outtengolden.com}

Paul Williarn Mollica (pwmollica@outten,qolden.com)

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Caniar Ricardo .1 ones (cjones@shavitzlaw.com)

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/S/Kevin F. Ga e

DBl/ 85649201.1

Case: 1:15-cv-10447 Document #: 31-1 Filed: 01/13/16 Page 12 of 50 Page|D #:261

EXHIBIT B

Case: 1:15-cv-10447 Document #: 31-1 Filed: 01/13/16 Page 13 of 50 Page|D #:262

Dougias M. Werrnan

 

From: Susan Stern <sstern@shavitziaw.corn>

Sent: i\/|onday, lanuary 11, 2016 10:54 AM

To: Douglas M. Werrnan

Cc: Gregg Shavitz;jms@outtengolden.com; Camar Jones; Maureen Salas; l\/lcl\terney,
Christopher (cmcnerney@outtengo|den.corn); Quinto, Otivia

Subject: FW: Briggs v. PNC

Attachments: (86049892)_(1}_Briggs_PNC ~ l\/iarl<up ot Piaintittsm Proposed Joint Initiai Status
Report.DOC

Doug, can we discuss this and get back to the defendant since this is due today? Aiso, does anyone else see redlines
because l don’t.

Susan H. Stern, Esq.

SHAVITZ L/-\W GROUP, P.A.

1515 S. Federa| Highway, Suite 404
Boca Ral:on, F!orida 33432

Pi'ione: 561~447~8888
www.Shavitz|aw.com

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prohibited |f you have received this e-maii in error, please notify the sender by reply e-:nai| or call (561) 447-8888. Thank you

From: Marzuilo, i_auren E. [mailto:lmarzul|o@morganlewis.com]
Sent: Friday, January 08, 2016 1:11 PM

To: Douglas M. Werman; Susan Stern

Cc: Alarnuddin, Sari M.; Gaffney, Kevin F.; Bouchard, Sarah E.; Justin Swartz; Gregg Shavitz; Camar Jones; Maureen

Salas
Subject: RE: Briggs v. PNC

Doug:

Thanl< you for following up. Attacbed is our proposed markup of the report. As the markup refiects, PNC is wiiling to
compromise by seeking oniy the two named plaintiffs depositions (per the notices we served on Wednesday) and
deferring ai| other discovery until after a ruling on P|aintitfs' motion for conditional certification Piease let us know it
you have any questions or comments

Thanl< you,

Lauren Marzui|o

Morgan, Lewis & Bockius LLP

One O)<l’ord Centre Thirty~$econd Fioor 301 Grant Street | Pittsburgh PA 15219-6401
Dlrect: 412.560.7407 l Main: 412.560.3300 | Fax: 412.560.7[}01
lmarzullo@morgan|ewis.com f www.morganiewis.com

Assistant: Marsha L. Josapak | 412.560.7443 [ marsha.]`osapai<@morganlewis.corn

Case: 1:15-cv-10447 Document #: 31-1 Filed: 01/13/16 Page 14 of 50 Page|D #:263

From: Dougias M. Werman [mailto:dwerman@flsaiaw.com]

Sent: Friday, January 08, 2016 10:03 AlVi

To: Marzu[|o, Lauren E.; Susan Stern

Cc: Aiamuddin, Sari M.; Gaffney, Kevin F.; Bouchard, Sarah E.; Justin Swartz; Gregg Shavitz; Camar Jones; Maureen
Saias

Subject: RE: Briggs v. PNC

Lauren: This is a follow-up to our conference cali regarding the status report and conversation about discovery.
Have you spoken further with your ciient about our dispute over the timing of discovery? Piease confirm if a further
meet and confer is warranted or if we are at impasse on the issue of discovery prior to Defendant filing its response to

Plaintiffs' step one motion for notice.

Please aiso provide me any proposed changes you have to the status report. The report must be filed on Nlonday,
january 11, 2016. Thani<s.

Doug Werman

Douglas l\/l. \X/errnan l \‘i’/errnan Salas P.C,.

                                             

312-419-1008 | 312¢419~1025 (fax)
etnail: d\verman@flsala\v.corn
\vebsite: www.tlsalaw.corn

t\vrtter: @\Werrnan$alas

From: l\/larzuilo, Lauren E. imai|to:|rnarzul|o@morganiewis.com]

Sent: l\/ionday, December 28, 2015 1:46 P|\/l

To: Susan Stern <sstern@shavitziaw.com>; Douglas i\/i. Werman <dwerman@f|saiaw.com>

Cc: Aiamuddin, Sari iVl. <salamuddin@morganiewis.com>; Gaffney, Kevin F. <kgafi`nev@morean|ewis.com>; Bouchard,
Sarah £. <sbouchard@moreanlewis.com>; Justin Swartz <JN|S@outtengo|den.com>; Gregg Shavitz

<gshavitz@shavitz[aw.com>; Carnar lanes <ciones@shavitzlaw.com>; [Vlaureen Saias <msalas flsalaw.com>
Subject: RE: Briggs v. PNC

HE 5usan: We can be availabie on 1/6. Piease let us know what time works best for you.
' Thani<you,

Lauren Marzul§o

Morgan, Lewis & Bockius LLP

One O><iord Centre Thirty-Second F|oor 301 Grant Street | Pittsb'urgh PA 15219~6401
Direct: 412,560.7407 l Main: 412.560.3300 ] Fa)<: 412.560.7001
lmarzullo@morganlewis.com § www.morganlewis.com

Assistant: Marsba L. Josapak | 412.560.7443 l marsha.]'osapak@morgan|ewis.com

From: Susan Stern [maiito:sstern@shavitziaw.com]

Sent: Thursday, December 24 2015 12: 16 PlVi

To: Marzullo, Lauren E.; Dougias M. Werman

Cc: Alamuddin, Sari IVE.; Gaffney, Kevin F.; Bouchard, Sarah E.; Just;in Swartz; Gregg Shavitz; Camar Jones; Maureen
Saias

Subject: RE: Briggs v. PNC

Case: 1:15-cv-10447 Document #: 31-1 Filed: 01/13/16 Page 15 of 50 Page|D #:264

i-ii Lauren,

ln light ofthe holidays, next week just won't wor|<. We are availabie on jan 5 or 6 which should ailow us sufficient time
to submit by the jan 11 deadline and Plaintiffs can circuiate a draft report before our ca||. P|ease let us know when on
lan 5 or 6 works for you.

Happy Holidays.

Susan H. Stern, Esq.

SHAVITZ LAW GROUP, P.A.

1515 S. Federal |~iighway, Suite 404
Boca Raton, Fiorida 33432

Phone: 561-447~8888
www.shavitziaw.com

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prohibited lf you have received this e-maii in error, please notify the sender by reply esmai| or call (561) 447-8888. Thani< you

From: Marzu|io, Lauren E. imai|to:lmarzu||o@rnoruaniewis.com]
Sent: Wednesday, December 23, 2015 4:36 PM

To: Douglas M. Werman

Cc: Alamuddin, Sari M.; Gaffney, Kevin F.; Bouchard, Sarah E.; Justin Swartz; Gregg Shavitz; Camar Jones; Maureen
Salas; Susan Stern

Subject: RE: Briggs v. PNC

Doug:

Thanl< you for the quick response We wouid prefer to schedule the conference sometime next week. Piease let us
know availability on your side next week. '

Than|< you,

Lauren Marzulio

Morgan, Lewis & Bockius LLP

One Oxford Centre Thirty-Second Floor 301 Grant Street l Pittsburgh PA 15219-6401
Direct: 412.560.7407 t Main: 412.560.3300 | Fax: 412.560.7001
tmarzullo@morganlewis.corn i www.morgan|ewis.com

Assistant: Jarni Q. Tansl<i l 412.560.7405 t jtanski@rnorganiewis.com

From: Douglas lVi. Werman [rnaiito:dwerman@f|saiaw.com]

Sent: Wednesday, Decemi)er 23, 2015 4:26 PM

To: lviarzu|lo, Lauren E.

Cc: Alamuddin, Sari M.; Gaffney, Kevin F.,' Bouchard, Sarah E.; Justin Swartz; Gregg Shavitz; cjones@shavitziaw.com;
Maureen Salas; sstern@shavitziaw.com

Subject: Re: Briggs v. PNC

Case: 1:15-cv-10447 Document #: 31-1 Filed: 01/13/16 Page 16 of 50 Page|D #:265

ln light of the briefing schedule land my vacation) and knowing this judge, | think the conference can wait until just after
the first of the year. if you want to have it next week, let me know and l’il get someone else on our side invoived.
Otherwise, let‘s plan on 1/5 or 1/6. Thanks.

On Dec 23, 2015, at 9:51 AIVt, l\/iarzuiio, Lauren E. <|marzu|io@morganiewis.com> wrote:
Doug:

| believe our Rule 26(f) conference is due in this matter. Wiil you please let us know plaintiffsl counsei’s
availability next week for a telephonic conference?

Thank you,

Lauren Marzu§|o

Morgan, Lewis 81 Bockius LLP

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DireCt: 412.560.7407 l Maln: 412.560.3300 | Fax: 412.560.7001
imarzul|o@morganlewis.com l www.morgan|ewis.com

Assistant: Jami Q. Tanst<i l 412.560.7406 l jtanski@morgan|ewis.com

DiSCLAll\/iER

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Case: 1:15-cv-10447 Document #: 31-1 Filed: 01/13/16 Page 17 of 50 Page|D #:266

EXHIBIT C

Case: 1:15-cv-10447 Document #: 31-1 Filed: 01/13/16 Page 18 of 50 Page|D #:267

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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT 0F ILLINOIS
EASTERN DIVISION

ROBERT O'TOOLE, et al., NO. 11 C 4611

Plaintiffs, Chicago, Illinois
GCtober 6, 2011
9:00 o'clock a.m.
_VS_

SEARS, ROEBUCK & CO.,
Defendant.

TRANSCRIPT 0F PROCEEDINGS - STAIUS
BEFORE THE HONORABLE MILTON I. SHADUR

APPEARANCES:

For the Piaintiffs: WERMAN hNM OFFICE P.C.
77 West Washington Street
Suite 1402
Chicago, Iilinois 60602
BY: MR. DOUGLAS M. wERMAN

For the Defendant: LITTLER MENDELSON, P.C.
321 North Ciark Street
Suite 1000
Chioago, Iilinois 60654
BY: MR.`MMES\L OH

Court Reporter: ROSEMARY SCARPELLI
219 South Dearborn Street
Room 2304A
Chicago, Iilinois 60604
(312) 435-5815

 

Case: 1:15-cv-10447 Document #: 31-1 Filed: 01/13/16 Page 19 of 50 Page|D #:268

OD\|G§U`l-LC)JI\J-`~

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THE CLERK: 11 C 4611, O'Toole versus Sears
Holdings.

MR. wERMAN: Good morning, Judge, Doug Werman,
W-E-R-M-A~N, for plaintiffs.

MR. 0H: Good morning, your Honor, James Oh, last
name spelled 0-H, for the defendants.

THE COURT: Good morning. Well, before l turn to a
couple of items that ought to be modified in the submission,
let me find out What -- and, by the wey, one of them is
certainly that the name of the plaintiff -- defendant rather
ought to be changed.

MR. WERMAN: Yeah. And -- yes, Judge.

THE COURT: You know, there Was a recent -- as you
know, there Was a recent change to Sears Roebuck & Company
from the holding corporation,

MR. WERMAN: Which is -- l am sorry.

THE COURT: 0kay. Now, but let me ask something
about that. Ybu knoW, I don't know anything about Sears'
internal corporate structuring, but are all of the putative
or potential class members employed by Sears Roebuck,&
Company so that there is no other subsidiary or affiliate
that is involved?

MR. hERMAN: Judge, that is what I Was going to
address. There has been some further discussions between the

parties and there has been agreement that we are going to

 

Case: 1:15-cv-10447 Document-#: 31-1 Filed: 01/13/16 Page 20 of 50 Page|D #:269

 

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further amend the complaint to add what we think are the
correct corporate entities. Sears is operating through many
different entities.

THE COURT: Yeah.

MR. wearisz Ana ii has been difficuii to kind or
figure it all out. We have done that. And we are going to
be amending the complaint to add Sears Holding Management
Corp., Kmart Corp. and Sears Holding Corp.. Sears Holding
Management Corp. is actually the operation -- the operational
entity that is actually employing individuals, as far as we

understand. And Sears Holding Corp. is the publicly-traded

' entity.

THE COURT: Yeah.

MR. WERMAN: The plaintiffs work for Kmart and
Sears. And at this point in time it is our position that it
is one and the same.

MRJ 0H: Vbur Honor, if 1 may.

THE COURT: Yes.

MR. 0H: Yes, after the complaint wes filed, I did
speak wdth Mr. Werman and his co-counsel Mr. Josephson at a
time when we thought this was just a Sears Roebuck case ~~

THE COURT: Yes.

MR. 0H: -- involving loss prevention managers
inside Sears stores only. And that is when I approached them

about the employer of the employees inside the Sears stores

 

Case: 1:15-cv-10447 Document #: 31-1 Filed: 01/13/16 Page 21 of 50 Page|D #:270

4

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is Sears Roebuck & Company.

THE COURT: Yeah.

MR. 0H: And that is why we filed our motion. As
~~ there has been four consents filed to join the lawsuit.
Turns out two of them are employees of Kmart. And so I
called him up and l told him, looks like you guys have two
Kmart people; the employer of the employees inside Kmart
stores is Kmart Corp. And that is when I suggested --

THE COURT: 0kay.

MR. 0H: -- to them that Kmart Corp. probably

OC.OGJ‘\|G>U'l-|>-C)JI\J

11 should be added as a defendant.

12 I don't necessarily agree that either of the

13 holding companies, Sears Holding Corp. or Sears Holding

14 Management Corporation -- or Company should be in this case
15 because we ndll have the two employers of the opt-ins who
16 have joined this lawsuit. Sears Holdings Corporation is a

17 pure holding company udth no employees. Sears Holdings --

is THE coURT; Yeah, t had thought that that ives the
19 reason for getting them out to begin ndth.

20 MR. 0H: Right. Well, they had named Sears

21 Holdings Management ~~

22 THE COURT: Management, right.

23 MR. 0H: -- Corp. Sears -~ SHMC is a service

24 corporation to the two operating companies. They do -- Sears

25 Holdings Management Corp. does have employees that provide

 

 

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some operational support to these two entities, Sears Roebuck
and Kmart.

THE COURT: But not necessarily as loss prevention,
right?

MR. 0H: There might be. And l wesn't going to
make an issue of having Sears -- anyone they went to add in
now.

THE COURT: 0kay.

MR. 0H: If they want to file an amended complaint,
I can accept service.

THE COURT: Sure.

MR. 0H: And I will preserve our defenses udth
respect to who the proper defendants are and --

THE COURT: Right.

MR. 0H: -- worry about that later I think.

THE COURT: 0kay. Now, that obviously makes the
motion for notice to potential class members premature
because you haven't got the right targets necessarily, right?

MR. WERMAN: l actually think it is a -- I think
the ~- it is not premature. l think we can proceed on it. l
think all that needs to happen, Judge; is we just need to
tweak the form of the notice documents --

THE COURT: 0kay.

MR. WERMAN: -- that would be sent out. But in

terms of it being properly supported wdth evidentiary

 

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materials, I think we are prepared to proceed unth that
motion at this time.

THE COURT: 0kay.

MR. WERMAN: But we do intend to modify the notice
documents.

THE COURT: Well, let me turn then to Sears counsel
and ask you about this one. As you know, it is Exhibit D to
the -- to the present motion. I did have a couple of issues
about it, but let me find out from your perspective. The
purpose of this, obviously, is to -- is -- given the nature
of the structuring of this kind of action is to stop the
clock running'uiterms of limitations on as many people as it
is possible to do. Or more accurately I guess, from the
plaintiffs' point of view, to get as big a time frame in as
to people.

What -- do you have substantive objections to the
idea of sending out a current notification? That is question
one. And question two is, do you have a problem as to the
form that has been tendered?

MR. 0H: Your Honor, we do have substantive
objections to notice going out in this particular case. My
understanding was that at the last status when they said they
would be filing their motion for a notice nnth -- shortly, my
partner who was here asked if we would be able to take any

discovery before that motion got filed or before we

 

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1 responded. And I -- my understanding was --
THE COURT: But my question I think then was, what
discovery? I mean, you know, they -- I am not buying their

claim necessarily, but certainly no discovery is needed in

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5 order --
6 MR. 0H: Well --
7 THE COURT: -- to pose this kind of an action.
8 MR. 0H: Well, your Honor, I --

9 THE COURT: I mean there may be a question, for
10 example, about whether the people are proper representatives,
11 but that doesn't have to wait on -- that doesn't have to be
12 resolved before a notice goes out to potential parties to
13 permit them to opt-in.
14 MR. 0H: I -- I actually kind of think it does
15 personally, 1 mean in the sense of the two-tiered process,
16 the two-stage process, that applies to these FLSA cases is
17 one that has developed ad hoc through the years through --
16 through case law. There is nothing in the statute or in the
19 Federal Rules that really countenanced this approach. And
20 one of the substantive objections I have to this motion at
21 this point in time that I wanted to brief was what, if any,
22 impact the Supreme Court's decision in Dukes versus Wal-Mart
23 has on cases like this.

24 Now, l understand that the Dukes --
25 THE COURT: Well, you can be my guest on that. But

 

 

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at the same time there is no reason that they cannot send
this out. Remember that the notice is properly cautionary
about saying that Sears --

MR. 0H: But --

THE COURT: ~~ objects, says that this doesn't
apply. It gives no assurances that there is any -- about the
validity of the claim or that there is going to be any
recovery. So nobody is harmed by the notice going out.

MR. 0H: With all due respect, your Honor, the harm
comes --

THE COURT: Ybu know, I hate that phrase because it
is -- it really is meaningless.

MR. 0H: Right.

THE COURT: And I am not sure just how sincere it
is all the time because people disagree, quite properly, wdth
what I am saying. So you don't have to preface what you
say -- j

MR. 0H: Thank you, your Honor.

THE COURT: -- with that demure.

MR. 0H: I disagree, your Honor.

THE COURT: 0kay.

MR. 0H: I disagree in the sense that once notice
goes out, you can't un-notice anybody. I mean --

THE couRT: so. `

MR. 0H: Well, the so is that on what I believe is

 

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1 the flimsiest of evidence notice is going to go out to a
couple thousand people that they can join this lawsuit. And
if 30 percent of them join in, all of a sudden we have a

lawsuit of not just five people -- but what is 30 percent of

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5 a couple thousand? And on the basis of what? 0n the basis

6 of some declarations that are artfully drafted, conclusions

7 and hearsay, l believe.

8 And part of the discovery that l would like to take
9 at this point would be to test what they say in their

10 declaration to see what basis, if any, they have for saying

11 that all loss prevention managers around the country are

12 working over 40 hours a week wdthout proper compensation or

13 that they are all performing the same duties or that in the

14 declarations that they have listed where they have --

15 THE COURT: All that comes out in the wash. But

16 again that is really nonresponsive to the question about how

17 this lawsuit should get launched and how it should be in a

18 situation in which there is no question that a failure to

19 communicate at this point is something that if it turns out

20 that the lawsuit has substance to it is going to deprive

21 people of rights.

22 hhereas if it goes out and it turns out that it is

23 a loser, then they haven't lost anything and all you have --

24 all your client has lost is paying lawyers' fees. Ybu know,

25 but -- and that is not a basis for saying we are not going to

 

 

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send out an appropriate notice.

I looked at the notice and it is -- it is really
properly cautious. Mr. Werman has been around a long time on
these and he knows I think mostly -- although l see some gap
in this thing -- what at least is required in this Court for
such notices. And they‘re -- they are appropriately
cautionary in terms of not giving assurances to the people or
the notified parties that they have really got a wdnner, or
anything at all. It is -- it talks about how rights might be
affected. And it talks about the fact that Sears, in a
separate statement on the first page of the notice -- "Sears
claims that it fully complied udth all applicable laws and
denies any wrongdoing." I mean it is full disclosure.

Now, I do have, as I say, two problems. They both
exist on Page 2, if you take a look at it. And that has to
do udth the question of about where the -- what is an
effective date. I always require, in order to avoid people
coming out of the woodwork, that the person who sends in a
joinder is responsible for delivery. So that postmark date
is a loser. It creates the potential that some response may
be -- may have been misdirected, and who knows how far down
the road somebody comes along and says, "Well, I did send it
in." And, therefore, you avoid that.

30 the -- what should be done is to provide that it

has to be -- they have to make sure that it is in the hands

 

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of counsel by X date and that it is counsel's responsibility
then to take care of the necessary filing. That way there is
no potential for the kind of problem that I have talked
about. And that requires a minor modification in the
language in the first paragraph of Paragraph 4 which talks
about "you must file a consent to be made a party udth the
Clerk of the Court" because the respondents are not taking
care of it getting to the Clerk of the Court as such.

And then in the second paragraph there is a typo.
The word "loss" should be "lost." Do you see that?

MR. 0H: Yes, your Honor.

THE COURT: “Should the envelope be lost or
misplaced."

MR. 0H: With a small l as opposed to capital L.

THE COURT: Yeah, right.

And in the next paragraph the "if you complete“ in
the second and third lines at the very end of the line the
"plaintiffs" is a possessive, so that ought to get an
apostrophe. 0kay.

In the paragraph numbered 5, your time to join is
limited, that is the one that I am talking about that really
needs modification to reflect the fact that -- instead of a
postmark date but also making it clear that the
responsibility for delivery is theirs. So that however they

manage to get the thing to counsel is really the control

 

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date.

And the last item that l noted on Page 2 is in
Paragraph 6 in the second line where it says "or have any
other way." lhat should say "or have in any other way." Do
you see that?

MR. WERMAN: Yes, Judge.

' THE couRT: 0kay.

MR. 0H: Your Honor, if I may.

THE COURT: Yes.

MR. 0H: l would like an opportunity to file an
opposition to this motion.

THE COURT: Oh, you can do that, but --

MR. 0H: And I would like a sufficient amount of
time to be able to get our ducks in a row to be able to do
that as Well. And --

THE COURT: Like what? Ybu have already talked
about your opposition. Why should you need more time? This
has been going on for sometime.

MRi 0H: This lawsuit or the motion has? The
motion was just filed.

THE COURT: I know, I know. But you have kno --

MR. 0H: l think that in all fairness we should be
given -- I don't know, 60 days to put together a response.

THE COURT: No, come on. Now, you know, that is
really an affront, frankly. Ybu don't need anything like

 

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that. If you have any objections, you can articulate those
very quickly. But l got to tell you that I have thought --

MR. 0H: At least 30 days, your Honor.

THE COURT: -- I thought about this a lot. Ybu
know, this is not the first such lawsuit I have had and it is
not the first one since the decision in Wal-Mart either
which, you know, has its own sphere but doesn't necessarily
govern this one. The notion that somehow industries get
destroyed by this kind of thing is really an overstatement.

MR. 0H: And I am not -~ that is not the position l
am taking, your Honor. I do think that -- and I wall -- we
-- I mean this lawsuit was filed back in July and they --
took them three months to get this lawsuit on file. I am not
asking for nearly that much time to put our opposition
together to their motion.

THE COURT: Did you think -- did you think that
they were not going to be asking for notice? Ybu knew from
day one they were going to be asking for notice, right?

MR. 0H: Yes, l did.

THE COURT: You have had plenty of opportunity to
think about and you have thought about --

MR. 0H: We didn‘t know ~- we did not know there
would be opt-ins from the Kmart side of the house. We
thought this was just a Sears matter that.

THE COURT: Of course, that really doesn't make any

 

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change in substance at ail. The concept that happens that
whoever the people are -- it may or may not turn out that
loss prevention people are doing the same thing. They may
lose out on that. They may end up mdth a very small group.

I don't know about that. And you don't know about that. But
that is not a predicate for saying let‘s hold off. So I am
certainly --

MR. 0H: Couid I -- could I -»

THE COURT: I am certainly going to be udlling to
let you make your record, as they say, and I udli give you
14 days to do that. But in the meantime --

MR. 0H: May I have 30, your Honor?

THE COURT: No, you don't need it. You know, come
on. I used to practice law in the days before Noah‘s flood.
I know what it takes. And you don't need it. And that is --
that is just not justified. And this ~- ail of this, you
know, casts a serious cloud on what kind of position Sears is
and ought to be taking in connection unth this one. You are
not losing anything. Sears is not losing anything by reason
of this notice going out. I don't know how to make that more
plain. The notice itself makes that plain. And so the idea
of stonewalling by ~~

MR. 0H: Ybur Honor, I am not --

THE COURT: -~ putting it out some extended period
is not appealing. And I have told you that you can get your

 

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ducks in a row, as you say. Ybu can make your legal
arguments by a filing in 14 days. But in the meantime I
expect that the notice is going to be put together and it is
going to be ready to go.

MR. wERMAN; very good.

MR. 0H: The other -- I do have a couple other
issues mnth the notice, your Honor.

THE COURT; Yeah, tell me.

MR. 0H: 0kay. They ask for, number one, a QO-day
period. And there have been other notices approved that have
had 60-day notice periods is number one.

They have also asked ~-

THE COURT: Let me ask you, Mr. Werman, why do you
think three months ought to ~~ once again if people -- when
they are told that they may or may not have a ciaim, they get
two months to file a response that says, if we can do it, we
unli do it. hhat is wrong mdth that?

MR. wERMAN: Potentialiy nothing, Judge. We have
had 60-day notices approved. he have had 90-day notices.

THE COURT: Adl right.

MR. wERMAN: The 90~day notice -- the reason why we
asked for 90 was that we were building into the schedule a
time to provide a reminder notice.

THE COURT: Yes. Ybu get 63 days, so it comes out

on a weekday.

 

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MR. WERMAN: Yes.

THE COURT: 0kay?

MR. 0H: Now, speaking of the reminder notice, I
also was going to object to them sending out a reminder. l
think one notice is sufficient for this time period.

THE COURT: Yeah, it -- I donlt see -- t

MR. WERMAN: There is a case, Judge ~- Judge -~ the
Bettencourt decision. Magistrate Judge Gilbert just issued
that, and he provided for a reminder notice. It has been our
experience in these cases we have had that the majority of
the -~

THE COURT: People just throw them away?

MR. WERMAN: They do, Judge. They do. And so we
are trying to provide the best notice possible to provide the
best opportunity for people to be informed to make an
informed decision. That is ail.

THE COURT: And who pays for the reminder?

MR. WERMAN: We do, Judge, the plaintiffs pay for
all the notice.

THE COURT: 0kay. I am not going to enlarge the
63 days, but I am going to permit, for example, a reminder
notice, let's say, mnth 14 days of that remaining. 50 that
if people have either inadvertently or othenwise thrown them
away, they mnll -- and choose to join, they have a right to

join.

 

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MR. 0H: And, your Honor, I haven't seen this
reminder notice, and so I would request ~~

THE COURT: Veah, he can submit that to you and you
can take a look at that.

MR. 0H: And, your Honor, I don't want to give any
umong impression about what Sears' intent here is. I mean if
we were stonewalling, we would not have picked up the phone
and called them and tell them, here are the proper
defendants, here is who should be in this case. I am just
trying --

THE COURT: Yeah, I shouldn't be overly critical,
but, you know, confidence is not inspired by the kinds of
substantive arguments that have been advanced. I am
certainly appreciative of the courtesies that you have
extended to him, but that is a separate issue really.

0kay. Now let‘s -- wait just a minute.

MR. 0H: So 14 days from today, your Honor, is the
20th.

THE COURT: Yes, I know that. But wait just a
minute. I was just seeing whether 1 had a next status date.
I don‘t. So I am going to give Sears a response to be filed
by OCtober 20th. I am going to set a status date that would
go past the anticipated 63 days. 80 allowing for time to get
stuff together, I would think that maybe about two and a half

months would be appropriate, which would put us into maybe

 

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the week of December 19th through the 23rd for a status.

Now, that doesn't inhibit anybody from coming in on
anything that may arise in the interim, but that is a status
date that I am pegging that would be after the anticipated
responses so we know what we are looking at. So in that week
Of the 19th through the 23rd --

MR. WERMAN: Judge, I am going to actually be out
of town that whole week.

THE COURT: Are you going to be back the next week?

MR. WERMAN: Yes, Judge.

THE COURT: 0kay. In the week of December 26,
which I think is probably the holiday, the observed
holiday -- so in the week of December 27th through the 30th,
any day better or worse for either of you?

MR. WERMAN: The 28th is -- I am going to be back.

THE COURT: 'That is Wednesday?

MR. WERMAN: Yeah, that is a Wednesday.

THE COURT: Is that okay for you, counsel?

MR. 0H: Yes, your Honor,

THE COURT: All right. Status then 9:00 o‘clock
December 28th.

MR. WERMAN: Judge, if you are anticipating the
notice going out on sufficient time so that we know the
number of opt-ins by December 28th, is there a date by which

Sears need to be providing to us the list of employees?

 

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THE CUURT: How soon can you put that together?

MR. 0H: I mnll find out today and let Mr. Werman
know. I can't -- I don‘t have an answer right now.

THE COURT: 0kay. But you ought to do that
promptly.

MR. 0H: Yes, your Honor.

THE COURT: And I wnll rely on both of you to be
cooperating on that. 0kay?

MR. WERMAN: Thanks, Judge.

THE COURT: Thank you.

MR. 0H: Thanks.

THE CLERK: Are you granting leave to file an
amended complaint?

THE COURT: Yeah, I hate to issue a blank check,
but I am going to give you leave to file an amended complaint
to get the right ducks in a row.

MR. WERMAN: Very good.

THE COURT: 0kay?

MR. WERMAN: Thank you, Judge.

MR. 0H: Thanks.

(hhich were all the proceedings heard )

 

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CERTIFICATE
I certify that the foregoing is a correct transcript

from the record of proceedings in the above-entitled matter.

s/Rosemary Scarpelli/ Date: OCtober 6, 2011

 

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EXHIBIT D

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1 IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS
2 EASTERN DIVISION
3 ROBERT 0'TO0LE, et al., No. 11 C 4611
4 Plaintiffs, Chicago, Illinois
OCtober 26, 2011
5 9:30 o'clock a.m.
_VS _
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7 SEARS HOLDINGS MANAGEMENT
8 CORPORATION, et al.,
Defendants.
9
10 TRANSCRIPT OF PROCEEDINGS - STATUS
11 BEFORE THE HONORABLE MILlON I. SHADUR
12 APPEARANCES:
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THE CLERK: 11 C 4611, O'Toole versus Sears.

THE COURT: Which one?

THE CLERK: O'Toole. Remember this is the one we
talked about this morning. They were asking for --

THE COURT: 0h, geez, I left O'Toole out in --

MR. WERMAN: Good morning, Judge.

MR. 0H: Good morning.

MR. WERMAN: Doug Werman, W-E-R~M-A-N, for the
plaintiffs.

MR. JOSEPHSON: Michael Josephson for the
plaintiffs.

MR. 0H: James 0h for the defendants.

THE COURT: Wait just a minute. I left the latest
O'Toole filing in chambers. 1 unll get it right now.

(Brief pause )

THE COURT: Well, counsel, as you know, defendant's
essential response is thatiiew are perfectly prepared,
because we were all concerned about limitations that would be
running the way this kind of action runs. They are saying,
look, we are prepared to stipulate that the limitations
period is told. I am a little troubled because they have
said now rather than, for example, going back to when the
motion is filed.

MR. 0H: We would do that too, your Honor.

THE COURT: Pardon?

 

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MR. 0H: We would do that if your Honor thought
that was --

THE COURT: 0kay. Now let me ask Mr. Werman. They
are saying that before 2200 or 2300 people are circulated, as
long as there is no arguable harm to them because limitations
are told'hinmch the same way as in a general class actions.
As you know, the pendency is enough to prevent people from
being pardoned by limitations in the interim.

what is umong unth their response, if anything?

MR. WERMAN: Well, the question is whether or not
notice should issue to these employees because they were all
subjected to the same policy, which is the denial of the
overtime pay. There is no question I think they acknowledged
it when we were here. And we provided evidentiary support as
part of our motion now.

THE COURT: Well, on that score it seems to me --
as chance would have it yesterday l gave a -- "A view from
the Bench, a two-day national conference on class actions,
you know, so l was talking as you might guess, about this
kind of problem. And in Wal-Mart in general class actions
has really changed the -- changed the dynamics and the
scenery entirely.

But if they -- well, let me put it a little
differently. If there is an arguable predicate for saying

that what you have just said, that is, being subjected to the

 

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same conditions and the same category, then it seems to me
that it is appropriate to err on the side of a general
communication.

If, however, as a result of what they are talking
about, some discovery -- and I would not think it should be
too long -- they are able to demonstrate that that is not
true, that there is really a smaller set, then I think we
ought to look at that because I think that would be

responsible. Meanwhile, as I say, your people are not being

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harmed.

11 So 1 am prepared to accept their response in

12 opposition, but I don't think it ought to string out very
13 long. 50 tell me how long you think it is going to take you
14 to do whatever discovery you are talking about. I am not
15 exactly clear as to what you would expect to do.

16 MR. 0H: I have not had the chance to confer wnth
17 my opposing counsel on this, your Honor, but some general

18 thoughts I had in mind were to do some limited document

19 discovery on the notice issue, take the depositions of the

' 20 five people who have joined the case up to this point. I am
21 sure that the plaintiffs' counsel might want to --

22 THE COURT: Well, wait just a mi nute. You are

23 talking about discovery. Are you going to be -- are you

24 addressing typicality or commonality, or what are you

25 addressing?

 

 

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MR. 0H: It would be the -- whether or not they are
similarly situated under 216(b) of the Fair Labor Standards
Act, your Honor.

MR. WERMAN: Judge, I think it is important to
remember this is not a Rule 23 case.

THE COURT: Right.

MR. WERMAN: This is a 216(b) case.

THE couRT: Th'is is a 216(b), right?

MR. WERMAN: Right. And so the evidentiary
shoNhEL if any -- because remember the 7th Circuit has
stated that a District Court cannot deny the issuance of
notice altogether. The evidentiary showdng that is required
under 216(b) is entirely different than under a Rule 23,

THE COURT: Right. l know that.

MR. WERMAN: And when we here -- if it was the last
time or two times ago, the Court was really clear that Sears
already has the black box. It already knows --

THE COURT: ¥eah.

MR. WERMAN: -- what --

THE COURT: Well, let me try again. If -- is that
the kind of discovery you are really talking about?

MR. 0H: Your Honor, we had pointed out in our
papers that the named plaintiff for part of the statute of
limitations period was actually classified as a nonexempt

employee. The two other --

 

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THE COURT: Yeah, but that is a self-defined thing.
That is not -- that doesn't create the law.

MR. 0H: But --

THE COURT: It says -- it says, "We thought so."
But your thinking so didn't make it so.

MR. 0H: But there is a modest factual showing that
does need to be made under Circuit authority, and we submit
that the declarations that were submitted don't rise to that
level in and of themselves. Ahd there is a difference --
there is a material difference between the named plaintiff
and the two other people who submitted declarations. And
there is also a difference between those three and the two
others who have joined this case who did not submit
declarations.

THE COURT: well, you say there is a difference.

We have all heard the phrase "distinction unthout a
difference." You are talking about distinctions. I am not
sure that that constitutes a difference in those terms in the
legal sense.

MR. 0H: But all we are asking for --

THE COURT: If you are -- if you are just saying
that you are going to point out that the characterization
that you people had made that defendant or defendants -- 1 am
not sure which it was -- on the -- among the three people is

something that should make a difference in terms of whether

 

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the potential opt-ins ought to be circulated, that is not
particularly convincing. I didn't know that that was the
kind of discovery you are talking about.

MR. 0H: The other -- the other points that we
made, your Honor, is that there are actually two exemptions
in play here. There is the executive exemption and
administrative exemption.

THE COURT: Yeah.

MR. 0H: And there are some people who would

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potentially receive notice who were loss prevention managers
11 over multiple different stores as opposed to Mr. O'Toole.

12 THE COURT: Well, let's try again. The fact that
13 somebody gets notice and may make a claim, for example,

14 doesn't get that person locked in as a potential plaintiff
15 entitled to recover because that is duaumole purpose of

16 sending out notice and getting responses, that is, you get --
17 then you get factual information about whether the people
18 would qualify, for example, for an administrative or an

19 executive exemption. But the only way you know that is not
20 by your discovery in connection wnth these -- the current

21 opt-ins. I don't understand that one at all.

22 MR. 0H: But I think --

23 THE COURT: If that is the predicate for it, you
24 don't get it.

25 MR. 0H: But I think your Honor was absolutely

 

 

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correct in saying before notice goes out to 2,882 people

2 there needs to be more --

3 THE COURT: Who is paying?

4 MR. WERMAN; Plaintiffs are paying.

5 THE COURT: Plaintiffs are paying.

6 MR. 0H:' There is -~

7 THE COURT: You know, so -- and notice -- the

8 _notices always say very carefully this does not tell you you

9 have got a claim, and the Court hasn't made any judgment
10 about it, and the defendants deny it. So, you know, it is
11 full -- it is full disclosure. l just -- nobody can claim to
12 have been misled by reason of receiving the notice.
13 MR. 0H: No. And we have agreed to the notice

14 language, your Honor. We worked that out since the last time
15 we are here. 80 there is no issue about what is stated in
16 the notice. The question is of whether or not the notice

17 even should go out when there are clear and factual

18 differences between the individuals who have already joined

19 the case.

20 THE COURT: Yeah, but those we find out when we get
21 the answers.
22 MR. WERMAN: Yeah. Judge, this is ~- all the

23 discovery that he is talking about is merits discovery that
24 is step two of this process. And --

25 MR. 0H: It is not all --

 

 

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THE COURT: l am sorry, I have not understood that
that was the class -- that is a bad pun -- that was the kinds
of discovery that you were talking about. If that is it,
then you are -- there is no reason to hold off. Let the
notices go out. It may turn out that 2,100 of the people
don't qualify. And if so, too bad for them. But plaintiffs
are paying, so you can't ~- I don't think you can complain
about that. Ybu kno --

MR. 0H: Your Honor --

THE COURT: -- if the natives -- if the natives are
made restless by reason of having received notices, but it
turns out that they don't have a claim, well, you know, that
is life. I don't -- I just don't see that as a basis. I am
going to grant the transmittal we have already talked about
form.

MR. WERMAN: Yeah. Judge, on Dotober 20th the --
we filed the notice documents that had been agreed to by the
parties, so we acknowledged a class list.

THE COURT: Did I -- did I mark that one up for you
or not?

MR. WERMAN: we -- the last time we were here you
proposed or told us the changes you wanted to have made to
it. And we made --

THE COURT: l told you the changes. I did mark it
up.

 

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MR. WERMAN: And we made those. We filed that on
OCtober 20th.

THE COURT: 0kay. All right. So the motion for
notice to potential class members, which is a -- an
inaccurate characterization under Rule 216(b), potential
plaintiffs, opt-ins, under rule -- under Section 216(b) is
granted.

Now, how long is it -- have you -- you haven't
received a printout of the whole works, right?

MR. WERMAN: We do not have the class list yet,
Judge.

THE COURT: 0kay. How long is that going to take
you to put together?

MR. 0H: One second.

THE COURT: Yeah.

MR. 0H: Your Honor, I mall hand over this class
list that is on this CD right now.

THE COURT: 0kay. Now, how long is it going to
take to get the -- well, that is on part of it. What about
yours?

MR. JOSEPHSON: The -- to get the notice out -- you
are asking me how long it is going to take to get the notice
issued to the class members?

THE COURT: No, how -- the list. Is that both?

MR. JOSEPHSON: Yeah, Mrf 0h --

 

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THE COURT: Is that for both?

MR. JOSEPHSON: This is -- Mr. Oh represented to us
last week that he would have the list.

THE COURT: Is that for Sears and Kmart, right?

MR. 0H: Kmart.

MR. JOSEPHSON: I haven't had a chance to look at
it, obviously.

MRJ 0H: lt should be.

MR. JOSEPHSON: But 1 trust that it is what he says
it is.

THE COURT: All right. 80 --

MR. 0H: lt should be 2,882 names of Sears and
Kmart.

THE COURT: As a matter of mechanics -- I am
talking to Mr. Werman now -~ to implement that and send the
thing out and get the responses back?

MR. WERMAN: Yeah. I think a week from Friday we
can have that out. A week from this Friday.

THE COURT: And you are add -- giving them, what,
63 days?

MR. wERMAN: Exactly.

THE COURT: All right. So wait a minute. 80 you
would be getting it out on November 4th, right?

MR. WERMAN: Yes, Judge.

THE CUURT: 50 that put the response date just not

 

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long after January 1st. It would be January -- about
January 6. 80 let me set a status in the week after that,
which would be January 9th through the 13th. And in that
week you can take your choice. Any preference?

MR. WERMAN: No, Judge, any time that week.

MR. JOSEPHSON: Can we do the Wednesday of that
week?

THE COURT: Wednesday is fine.

MR. JOSEPHSON: 0kay.

THE COURT: 80 Wednesday, January 11th.

MR. 0H: Your Honor, there is a status date
currently scheduled for December 28th.

THE COURT: I am going to vacate that, yeah.

Wait just a minute. 80 it is going to be
January 11, 2012 at 9:00 o'clock.

Thank you.

MR. WERMAN: Thanks, Judge.

MR. JOSEPHSON: Thank you, your Honor.

MR. 0H: Thank you, your Honor.

(hhich were all the proceedings heard.)
CERTIFICATE
I certify that the foregoing is a correct transcript

from the record of proceedings in the above-entitled matter.

s/Rosemary Searpelli/ Date: November 7, 2011

 

